Case 2:04-cV-02987-.]P|\/|-de Document 35 Filed 05/24/05 Page 1 of 2 Page|D 41
FH.?.`E{,} _:.”:\:' ' g 53
IN THE UNITED sTATEs DIsTRIcT coURT _
FoR THE wEsTERN DISTRICT oF TENNESSEE GSHAFZQ PH;;;;U
wEsTERN DIvIsIoN m

 

 

PULL-A-PART, L.L.C.,

Plaintiff,
No. 04-2987 Ml/V

V.

MITCHELL RoAD AUTo PARTS,
L.L.c.,

vv~_#v\_¢\_rvvvv

Defendant.

 

ORDER SETTING TRIAL DATES

 

Pursuant to the discussion at the parties’ May 24, 2005,
status Conference, the Court hereby sets the following trial
schedule in this case:

Trial: Mondav. November 28, 2005, at 9:30 a.m.
Pretrial Conference: Fridav, November 18, 2005. at 9:00 a.m.

Pretrial Order: Thursdav, November lO, 2005. bv 4:30 o.m.

SO ORDERED thiS g i day Of May, 2005.

;<\MQM"(M

JON P. MCCALLA
UNI ED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02987 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

Jennifer Gruber

THOMAS KAYDEN HORSTEMEYER & RISLEY L.L.P.
100 Galleria Parkway Suite 1750

Alanta, GA 30339

Peter L. BreWer

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ, PC
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Mary L. Wolff
WOLFF ARDIS

5810 Shelby Oaks Dr.
1\/1emphis7 TN 38134

Harold Marquis

THOMAS KAYDEN HORSTEMEYER & RISLEY, L.L.P.
100 Galleria Parkway 1750

Alanta, GA 30339

Philip Watts

WATTS & WATTS, PC
101 Robinson Rd.

Ste. 501

Oklahoma City7 OK 73102

Honorable J on McCalla
US DISTRICT COURT

